   8:21-cr-00306-BCB-MDN Doc # 23 Filed: 12/14/21 Page 1 of 2 - Page ID # 49


                                                                     FILED
                                                              U.S. DISl f\lCT COURT
                         IN THE UNITED STATES DISTRICT COURT DISTRICT ci: NEOIU,SKA
                              FOR THE DISTRICT OF NEBRASKA                  2021 DEC 14 PH S: f4
UNITED STATES OF AMERICA,                                                  OFFJCE OF THE CLERK
                       Plaintiff,                                      8:21CR   3Zio
       vs.                                                        INDICTMENT
                                                           21 U.S.C. § 84l(a)(l) & (b)(l)
SHERI ANN GRIEGO and                                          18 U.S.C. § 924(c)(l)(A)
DANIEL M. GUTIREZ,

                       Defendants.

       The Grand Jury charges that:

                                            COUNTI

       On or about December I; 2021, in the District of Nebraska, Defendants SHERI ANN

GRIEGO and DANIEL M. GUTIREZ did knowingly and intentionally possess with intent to

distribute 50 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, its salts, isomers, and salts of its isomers, a Schedule II controlled substance.

       In violation of Title 21, United States Code, Section 84l(a)(l) and Title 21, United States

Code, Section 841 (b)( 1).

       Before SHERI ANN GRIEGO committed the offense charged in this Count, she had a

final conviction for a serious drug felony, namely, a conviction under Weld County Sheriff's

Department; Greeley, CO; Case no.:201 ICR372, for which she served more than 12 months of

imprisonment and for which she was released from serving any term of imprisonment related to

that offense within 15 years of the commencement of the instant offense.

                                           COUNT II

       On or about December I, 2021, in the District of Nebraska, Defendant SHERI ANN

GRIEGO did knowingly use and carry a firearm, to wit: River Model 10-22 rifle, during and in
     8:21-cr-00306-BCB-MDN Doc # 23 Filed: 12/14/21 Page 2 of 2 - Page ID # 50



  relation to, and.did knowingly possess such firearm in furtherance of, a drug trafficking crime for

  which Defendant may be prosecuted in a court of the United States, that is, the offense described

  in Count I.

         In violation of Title 18, United States Code, Section 924(c)(l)(A).

                                              COUNTID

         On or about December 1, 2021, in the District of Nebraska, Defendant DANIEL M.

  GUTIR.EZ did knowingly use and carry a firearm, to wit: Girsan semi-auto MC28SA 9 mm

  pistol, senal number T636820A013267, during and in relation to, and did knowingly possess

 such fireann in furtherance of, a drug trafficking crime for which Defendant may be prosecuted

 in a court of the United States, that is, the offense described in Count I.

         In violation of Title 18, United States Code, Section 924(c)(1 )(A).




                                                        A TRill? BILL./




         The United States of America requests that trial of this case be held in Omaha, Nebraska,
. pursuant to the rules of this Court.



                                                      z
                                                   THO~
                                                   Assistant:: S:: s~ttorney




                                                  2
